        Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 1 of 65



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

JACK MONTAGUE,                         :
  Plaintiff,                           :
                                       :
              v.                       :    Civil No. 3:16-CV-00885 (AVC)
                                       :
YALE UNIVERSITY, et al.                :
  Defendants.                          :

           RULING ON DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        This is an action for damages and equitable relief, in

which the plaintiff, Jack Montague, alleges that the defendant,

Yale University, et al. (“Yale”), unlawfully and improperly

expelled him for alleged sexual misconduct.           It is brought

pursuant to Title IX of the Education Amendment of 1972 (“Title

IX”)1 and common law tenets including breach of contract,

defamation, violation of confidentiality and false light, and

tortious interference with a contractual relationship.             The

court has jurisdiction pursuant to 28 U.S.C. § 13312 and 28

U.S.C. § 1332.3




1   20 U.S.C. § 1681 et seq. and 42 U.S.C. § 1981.
2 28 U.S.C. § 1331 provides that the “district court shall have original
jurisdiction of all civil actions arising under the Constitution, laws, or
treaties of the United States.”
3 28 U.S.C. § 1332 states in relevant part that the “district courts shall
have original jurisdiction of all civil actions where the matter in
controversy exceeds the sum or value of $75,000 . . . and is between (1)
citizens of different states. . . .”
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 2 of 65



     The defendants have filed a motion for summary judgment on

all counts pursuant to rule 56 of the Federal Rules of Civil

Procedure, arguing that there are no genuine issues of material

fact and that they are entitled to judgment as a matter of law.

For the following reasons, the defendants’ motion for summary

judgment (docket no. 142) is GRANTED in part and DENIED in part.

                                 FACTS

     Examination of the complaint, pleadings, local rule 56

statements, the exhibits accompanying the motion for summary

judgment, and the responses thereto, disclose the following

undisputed material facts:

     At all times relevant herein, the plaintiff, Jack Montague,

was a student and athlete at Yale University, where he played on

Yale’s basketball team and became captain of the team.

     The defendant, Yale University, is in New Haven,

Connecticut, with approximately 5,500 enrolled undergraduates

and is the beneficiary of federal funds within the meaning of

Title IX.

     On or about March 2011, the Office of Civil Rights (“OCR”)

of the United States Department of Education (“DOE”) “received a

complaint alleging that a sexually hostile environment existed




                                   2
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 3 of 65



at Yale and that Yale had not responded in a prompt and adequate

manner.”4

      On April 4, 2011, the OCR issued a letter to Yale and other

universities receiving federal money, known as the “Dear

Colleague” letter.      The letter discusses “Title IX’s

requirements related to student-on-student sexual harassment,

including sexual violence, and explains schools’ responsibility

to take immediate and effective steps to end sexual harassment

and sexual violence,” supplements the OCR’s Revised Sexual

Harassment Guidance issued in 2001, and discusses “the proactive

efforts schools can take to prevent sexual harassment. . . .”

      The OCR assessed whether Yale had prompt and equitable

grievance procedures to address complaints under Title IX, and

whether Yale allowed a sexually hostile environment on campus by

failing to sufficiently respond to complaints of sexual

harassment.

      On June 11, 2012, Yale entered into a voluntary resolution

agreement with the OCR in response to the 2011 complaint.5



4 “The complaint stemmed in part from a well-publicized incident in October of
2010 in which fraternity pledges chanted sexually aggressive comments outside
the Yale Women’s Center.” The court notes that the complainant is
unidentified.
5 The court notes that the OCR did not make a finding of noncompliance. The
voluntary resolution agreement indicated that Yale voluntarily agreed “to
assure that it has an environment and culture in which all students feel safe
and well supported, and that it responds promptly and effectively to
incidents of sexual harassment and violence (hereinafter referred to as
sexual misconduct), in a manner designed to remedy the effects of such

                                      3
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 4 of 65



Subsequently, Yale published a semi-annual report to the Yale

community about actions taken by Yale University in response to

specific complaints of sexual misconduct.6

      At all times relevant herein, Yale had in place policies

governing sexual misconduct titled “Sexual Misconduct Policies

and Related Definitions.”       These policies define sexual

misconduct as “a wide range of behaviors including sexual

assault, sexual harassment, intimate partner violence, stalking,

voyeurism, and any other conduct of a sexual nature that is

nonconsensual, or has the purpose or effect of threatening,

intimidating, or coercing a person.”         Attorney Susanna Murphy,

Montague’s sexual misconduct expert, testified in her deposition

that Yale’s sexual misconduct policies and definitions are

consistent with federal law.7

       The “University Wide Committee on Sexual Misconduct”

(“UWC”) addresses formal complaints of sexual misconduct and is




misconduct if should occur, and prevent recurrence, consistent with the
requirements of Title IX” by complying with specified requirements.
6 The first report included complaints of sexual misconduct brought between
July 1, 2011 and December 31, 2011.
7  While Montague admits that Murphy testified that she did not see anything
that violates federal law, Montague takes no position on whether every aspect
of the policies is consistent with federal law in that this is a legal
conclusion and immaterial to the instant motion. He also responds that
Murphy is being offered as an expert in sexual misconduct investigation and
is not being offered as a legal expert on all facets of university compliance
with Title IX.


                                      4
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 5 of 65



governed by the UWC procedures.8          Under the UWC procedures, the

UWC chair, the UWC secretary, and another member of the UWC must

initially determine whether the complaint, if substantiated,

would constitute a violation of Yale’s sexual misconduct

policies.

      In the Fall of 2012, Montague matriculated at Yale

University as a first-year student.

      In August 2013, Yale alumni wrote an open letter to Peter

Salovey, the president of Yale University, and Stephanie

Spangler, Yale’s deputy provost for health affairs and academic

integrity and Title IX coordinator, questioning Yale’s use of

the term “‘nonconsensual sex’ to describe sexual assault.”              The

open letter also expressed concern over the fact that many of

the complaints of “nonconsensual sex” resulted in “written

reprimands or sensitivity training,” sending a message that

sexual assault is a minor infraction.

      On September 9, 2013, in response to the January 1, 2013

through June 30, 2013 semi-annual report, Yale issued “Sexual

Misconduct Scenarios” to address questions and concerns

regarding the report.      The scenarios were “developed to help

illustrate a range of behaviors that Yale and the UWC would

characterize as ‘nonconsensual sex’ - and thus, a violation of


8 The UWC provides both a formal and an informal means of resolving
allegations of sexual misconduct.


                                      5
         Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 6 of 65



Yale's sexual misconduct policy.”              These “scenarios also provide

examples of penalties-ranging from expulsion to reprimand. . .

.”

         On August 25, 2013, one Sally Smith9 filed a complaint with

the UWC (hereinafter referred to as “UWC I”) alleging that

Montague folded up his used pizza plate and placed it down her

tank top, between her breasts.10             Aley Menon, the UWC secretary,

Michael Della Rocca, the UWC chair, and David Post, a UWC

member,11 determined that the UWC had jurisdiction over the

August 25, 2013 complaint, based on Montague’s alleged

conduct.12,13      In response to Smith’s complaint, Montague stated

that he “took full responsibility for his actions.”14

         Attorney Timothy Pothin investigated the UWC I complaint

and submitted a “Fact-Finder’s Report” dated September 25, 2013.



9    Sally Smith is a pseudonym used to protect the privacy of this Yale student.
10Montague admits this fact and further responds that Smith also indicated in
her UWC I complaint that there “was no physical (skin-to-skin) contact,” and
that she described her interaction as “peripheral.” The court notes that
Smith indicated in her UWC I complaint that she “had never met [Montague]
until this encounter.”
11   Post later became the chair of the UWC.
12However, Montague disputes whether the UWC’s determination that they had
jurisdiction over the UWC I complaint was proper. In support, he cites
Post’s e-mail comments and Smith’s comments.
13For purposes of this motion, Montague does not contest that Menon, Della
Rocca, and Post “did not discriminate against Montague based on his gender.”
14Montague further asserted that he “never meant to hurt or sexually harass”
Smith. He also indicated that he “assume[s] that [he] was under the
influence of alcohol that night, as [he] do[es] not recall this incident.”


                                         6
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 7 of 65



Two witnesses confirmed Smith’s account and reported that they

witnessed Montague shove a pizza plate down Smith’s tank top.

Montague also told Pothin that he accepted full responsibility

for his action toward Smith.15

      On October 9, 2013, a five-member panel reviewed the UWC I

complaint.    Montague did not contest the allegations of the UWC

I complaint and/or the UWC I panel concluded that he sexually

harassed Smith when he, without provocation, rolled up a used

paper pizza plate and shoved it down Smith’s shirt between her

breasts.16   The UWC I panel unanimously concluded that Montague

violated Yale’s sexual misconduct policies and unanimously

recommended that Montague be: 1) placed on probation for four

terms;17 2) prohibited from holding a leadership position in any

student activity, organization, or sport; 3) required to enroll

in sexual harassment and gender sensitivity training through the



15Montague again asserts that he told Mr. Pothin that he “never meant to hurt
or sexually harass” Smith.
16Montague admits that he did not contest the factual allegations, that he
placed a pizza plate down Smith’s shirt, however, he disputes that this is an
admission that his actions constituted a violation of Yale’s sexual
misconduct policies. Yale notes, however, that Montague conceded, at his
deposition, that his conduct constituted sexual contact in violation of
Yale’s sexual misconduct policies. Montague admits that he initially
testified at his deposition that putting your hands or another object between
a woman’s breasts without consent would violate Yale’s sexual misconduct
policy. However, he later clarified his response through an errata sheet to
say that “[y]es, putting your hands between a woman’s breasts without consent
would violate Yale’s sexual misconduct policy.”
17The four terms began with the Fall term of 2013 and continued through the
end of the Spring term of 2015.


                                      7
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 8 of 65



Sexual Harassment and Assault Response and Education (“SHARE”)

Center; 4) required to meet with a member of the SHARE Center

once each semester, beginning with the Spring term of 2014, for

the remainder of his time at Yale, to review and reflect on his

interactions and relationships with female students at Yale; and

5) required to receive training on the appropriate use of

alcohol.

     On October 21, 2013, Menon, the UWC secretary, informed

Montague that Dean Mary Miller had accepted the UWC I panel’s

findings of fact, conclusions, and recommendations.            Montague

did not oppose the UWC I panel report or appeal Dean Miller’s

decision.18   Montague admits that the UWC I panel members and

Dean Miller did not discriminate against him based on gender.

He received the sexual harassment and gender sensitivity

training, and the training on the appropriate use of alcohol, as

required, following the UWC I proceedings.

     In early September 2014, Montague and one Jane Roe19 met at

a party at his house, where he lived with other Yale basketball



18Montague admitted that he testified that he did not oppose the UWC I panel
report or appeal because he “understood that [his] conduct was completely
inappropriate and wrong and [he] was willing to go through the counseling
that had been ordered.” Montague disputes, however, that this statement is
an admission that he violated Yale’s sexual misconduct policies. Although he
testified that he admitted the conduct, he argues that he did not understand
that there was a procedural mechanism to admit the conduct, but challenge
whether the behavior was sexual misconduct.
19Jane Roe is a pseudonym used to protect the privacy of this Yale student.
The court assumes that Jane Roe was of the age of consent.

                                      8
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 9 of 65



players.   They engaged in “sexual touching,” but not sexual

intercourse.

      Several weeks later, Montague and Roe again engaged in

consensual sexual contact, not including sexual intercourse.

      On September 24, 2014, Montague and Roe saw each other at

an event at Toad’s Place.       They left together and went to

Montague’s house, where they engaged in consensual sexual

intercourse.20

      On October 18, 2014, Montague and Roe met again at a party,

at his house.    Montague and Roe engaged in consensual sexual

contact, not including intercourse, outside of the house and in

Montague’s car.     They then went into Montague’s bedroom where

they continued sexual contact, including sexual intercourse.

Roe claims that Montague engaged in sexual intercourse with her,

without her consent and over her objection.          Montague claims

that Roe voluntarily consented throughout the encounter.

      In the Fall of 2015, Montague was a full-time student in

his senior year of college.       On September 18, 2015, the

Secretary of the Yale College Executive Committee (hereinafter

the “Executive Committee”) notified Montague that Chief of

Police Ronnell A. Higgins submitted a complaint to the Executive


20Roe does not dispute that she verbally consented to sexual intercourse.
She indicated that, in hindsight, she does not believe that she was capable
of making a considered decision because she was highly intoxicated and was
not thinking clearly. However, she does not claim that Montague engaged in
sexual misconduct on this date.

                                      9
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 10 of 65



Committee, alleging that Montague’s conduct on September 6,

2015, violated Yale’s undergraduate regulations governing

“Defiance of Authority.”       The complaint alleged that Montague

interfered with a police investigation into the well-being of a

female student who appeared to be intoxicated and was being

followed by a male student, who was a friend of Montague.21

      On September 24, 2015, the secretary of the Executive

Committee informed Montague that his actions were in violation

of Yale’s undergraduate regulations governing “Defiance of

Authority” and the committee voted to reprimand him.22            The

September 24, 2015 letter stated that “the reprimand will be

taken into consideration in determining a penalty if you should

ever again be found by the Executive Committee to have committed

an infraction of the [u]ndergraduate [r]egulations.”            The



21Officer Higgin’s complaint alleges that Montague’s friend “continually
screamed at [him] and the other officers to leave [the female student] alone
so they could go back to his house” and “had his cellphone near [the
officer’s] face the entire time.” The complaint further alleges that, while
he was escorting Montague’s friend to the police vehicle to detain him,
Montague arrived on the scene inquiring about his friend. When he was told
that his friend was being detained and he needed to back away, “Montague did
not listen and became argumentative with [the officers],” began recording on
his cell phone, and got all the officers’ names and badge numbers. He
“continued to encroach on the officers. . . .” The complaint further alleges
that Montague and his friend refused to “give any information about who they
were[.]” However, the officers knew their names. Montague does not admit to
interfering with the police investigation and admits only to helping his
friend, who had been detained by the Yale Police, and to recording the
incident on video.
22Montague adds that the letter further states that the reprimand was a
“matter of internal record only” and that Montague was free to deny its
existence if ever asked if he had been subject to disciplinary sanctions at
Yale.


                                     10
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 11 of 65



Executive Committee’s reprimand was a formal disciplinary matter

which could be considered by the UWC.23

      In September 2015, the Association of American Universities

(“AAU”) issued the “Report on the AAU Campus Climate Survey on

Sexual Assault and Sexual Misconduct” (hereinafter the “Campus

Climate Report”).     In Stephanie Spangler’s September 21, 2015

introduction to the report of Yale-specific findings, she

indicated that “[w]hile some students felt pressured by a Title

IX Coordinator, the University-Wide Committee, or Yale Health to

proceed [in filing a complaint], no students reported being

pressured by any official to drop or abandon a complaint.”

      On September 21, 2015, President Salovey issued a statement

regarding the results of the report.         In his statement, Salovey

expressed concern that “[o]ver half of all students reported

that they had experienced sexual harassment,” and that the

“survey results make clear . . . that we must redouble our

efforts.”




23The parties, however, dispute the significance of this language. Montague
argues that the letter specifically refers to an infraction under the
undergraduate regulations found by the “Executive Committee” and does not
indicate that the UWC could or would take the reprimand into consideration in
adjudicating a complaint alleging a violation of Yale’s sexual misconduct
policies. Yale argues that the letter does not state that only the executive
committee would consider the reprimand if Montague subsequently violated the
undergraduate regulations. Ultimately, Montague admitted that the reprimand
from the Executive Committee was a formal disciplinary matter which could be
considered by the UWC.


                                     11
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 12 of 65



     Also on September 21, 2015, one Rachel Rogers,24 a suitemate

of Roe, spoke to Angela Gleason, deputy Title IX coordinator.

Rogers described Roe’s experience with Montague on October 18,

2014 and asked for advice on how to help Roe.

     On or about October 16, 2015, Gleason met with Rogers and

discussed the options available to Roe.          On October 19, 2015,

Gleason met with Roe and discussed the possibility of an

informal process where Montague would be offered sensitivity

training with SHARE and where it might be possible to keep Roe’s

name and identifying information confidential.

     On or about November 6, 2015, Gleason contacted Roe to

request a meeting to discuss a new development.25           Gleason asked

Post to be on standby, during her meeting with Roe, to answer

any questions Roe might have about the UWC process.            At the

meeting, Gleason expressed concern to Roe about the seriousness

of the incident and informed her that a Title IX coordinator

could file a formal complaint if Roe agreed to cooperate as a

witness.26   Gleason asked Post to join the meeting to address


24Rachel Rogers is a pseudonym used to protect the privacy of this Yale
student.
25Gleason learned that Montague had been found to have violated Yale’s sexual
misconduct policies in UWC I and had already received sensitivity training.
The parties dispute when Gleason first learned of this and the extent of the
sensitivity training. The parties also dispute what Gleason disclosed to Roe
about this incident.
26Montague argues that the purpose of the meeting was to try to convince Roe
to abandon the informal complaint and to agree to participate in a formal
complaint against Montague.

                                     12
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 13 of 65



questions Roe had about the UWC process.          Roe did not

immediately agree to participate in a formal complaint.

     On or about November 9, 2015, Roe decided that she wanted

to pursue a formal complaint against Montague provided that a

Title IX coordinator was listed as the complainant.27

     At no time prior to the formal hearing did Post communicate

with Roe nor did she communicate with him, about the substance

of her complaint against Montague.

     On November 18, 2015, Jason Killheffer, senior deputy Title

IX coordinator, filed a complaint with the UWC (hereinafter “UWC

II”) alleging sexual assault by Montague based on a report that,

on October 18, 2014, he had sexual intercourse with Roe without

her consent.28    The Sexual Misconduct Policies and Related



27Montague responds that UWC Chairman Post presented this option as a
“comfort” to Roe. The OCR’s “Dear Colleague” letter provided the standard for
sexual misconduct procedures at this time. The federal government required
educational institutions to evaluate claims of sexual misconduct under the
preponderance of evidence standard. The federal government also required
educational institutions to allow a complainant to convert an informal
process into a formal process. Yale was required to inform Roe of this
right.
28Killheffer filed the complaint pursuant to Section 1 of the UWC procedures,
which allows a Title IX coordinator to bring a complaint to the UWC “when
there is evidence that the University’s policies on sexual misconduct have
been violated and the Coordinator’s intervention is needed to ensure that the
matter reaches the UWC.” Montague states that, in a situation where the
alleged victim of the misconduct does not agree to participate in the formal
process by at least speaking to a fact finder, the Title IX coordinator can
only proceed with a formal complaint if there is a risk to the safety of the
university community. Killheffer did not discuss the filing of a formal
complaint with Roe. Montague states that Killheffer did discuss the filing
of a formal complaint with Gleason, Spangler, and Sawyer “who decided that
the Title IX office would file a formal complaint if Roe’s participation
could be obtained.”


                                     13
        Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 14 of 65



Definitions define “consent” as “positive, unambiguous, and

voluntary agreement to engage in specific sexual activity

throughout a sexual encounter.”           The same document explains that

“[c]onsent to some sexual acts does not constitute consent to

others, nor does past consent to a given act constitute present

or future consent.        Consent must be ongoing throughout a sexual

encounter and can be revoked at any time.”29

        On November 30, 2015, Menon notified Montague that

Killheffer filed a formal complaint against him with the UWC.

On December 9, 2015, Montague responded in writing.              He denied

the allegations in the UWC II complaint and indicated that all

intimate interactions with Roe were consensual.              Yale appointed

attorney Miriam Berkman as the fact-finder to investigate Roe’s

allegations.       Berkman investigated the UWC II complaint and

issued a fact-finder’s report dated January 15, 2016.

        On January 21, 2016, a five-member panel held a hearing and

reviewed the UWC II complaint.           Roe submitted an opening

statement and testified at the hearing.30              Roe admitted

consenting to other sexual activity, but denied consenting to

intercourse.       Roe reported to Berkman and the UWC II panel that,


29   Montague disputes the meaning of this language.
30Although Yale’s witnesses testified that it is their uniform practice to
allow the complaining witness to submit an opening statement and participate
in the process, Montague responds that there is no authority for this
practice.


                                        14
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 15 of 65



on the evening of the alleged incident, she asked Montague if it

was “ok to hookup, but not have sex,” twice prior to entering

Montague’s bedroom.31

      Montague reported to Berkman that he asked Roe if she

wanted to have sex and Roe responded “okay,” but Montague

reported to the UWC II panel that he had “non-verbal” indicators

of consent.32    Montague admitted that he made statements to

Berkman that ultimately turned out to be inaccurate.33            In his

deposition, Montague testified that if Roe had said that she

wanted to hook up but not have sex, he would not have had

consent for intercourse.34      In his deposition, Montague admitted

that he understood that prior sexual activity did not provide

consent for subsequent sexual activity and that he needed




31Roe also reported to Berkman and the UWC II panel that, when Montague was
preparing to engage in sexual intercourse with her, she put her hands up,
pressed them against the front of Montague's shoulders and pushed him, but
not very forcefully. She also reported that she said, “Jack, no, I said I
wanted to hookup but not have sex.” Montague, however, disputes this and
further notes that Roe also told the fact-finder that Montague did not appear
to hear her because he looked very drunk. Montague admits that Roe told the
fact-finder that, after intercourse, Montague said, “I’m really sorry. I
know you didn’t want that.” However, Montague denies making this statement.
32Montague further responds that, since he had several sexual encounters with
Roe, he was confused when he spoke with the fact-finder.
33Montague points out that, when being interviewed by Berkman over a year
after the alleged events in question, he recalled only three sexual
encounters with Roe, instead of four, and did not remember going to a party
at a different location after having intercourse with Roe.
34Montague corrected his testimony in an errata sheet to state that, if Roe
had said that she wanted to hook up but not have sex, he “would not have had
consent for intercourse at the time.” (emphasis added).

                                     15
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 16 of 65



specific consent for each sexual act during a sexual

interaction.35

      Menon informed the UWC II panel of Jack Montague’s

disciplinary history with the UWC and the Executive Committee.36

When considering the appropriate penalty, the UWC II panel found

relevant the UWC I finding that Montague had violated the sexual

misconduct policies.      At the time of his alleged encounter with

Roe, Montague was on probation and had received sexual

harassment, gender sensitivity training and education, and

counseling on the appropriate use of alcohol, as a penalty from

the UWC I proceeding.37      Yale’s undergraduate regulations

provided that “[t]he commission of a serious offense while on

probation will normally result in suspension or expulsion.”

Montague and Murphy, Montague’s expert witness, both testified

that sexual intercourse without consent was a serious violation.

Murphy also testified that, since Montague was on probation at


35Montague further states that his sexual history with Roe had an impact on
how he interpreted her non-verbal cues. He further responds that consent,
once granted, need not be re-expressed verbally at each stage, or that a
separate consent be obtained for each act.
36Montague disputes that Menon’s disclosure was in accordance with the UWC
Procedures. He argues that “previous formal discipline for other acts of
sexual misconduct” on the issues of culpability, rather than penalty, is part
of the hearing phase of the proceedings. He further argues that the UWC
panel considered this information following the hearing, after Montague had
already been excused.
37Montague admits these facts. However, he argues that he was not given the
opportunity to speak regarding the irrelevance and erroneousness of the UWC I
findings and the fact that the training had nothing to do with sexual
consent.


                                     16
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 17 of 65



the time of the encounter with Roe, suspension or expulsion were

the most likely sanctions under Yale’s policies.          38


      After deliberation, the UWC II panel unanimously concluded

that Roe’s testimony was more credible than Montague’s testimony

and that Montague violated Yale’s sexual misconduct policies.39

They recommended expulsion.       Montague states that the UWC II

panel did not consider all of the evidence because of the biased

and inaccurate presentation of the evidence in the fact-finder’s

report.

      On February 1, 2016, the panel issued its report.40

Montague wrote a response to the UWC II panel report, requesting

that Dean Holloway reopen his case for further review and that

the matter be referred back to the panel so that they could

conduct a more expansive review.




38Montague admits this fact. However, he argues that his expert is not a
Title IX expert and indicates that Murphy is only offered as an expert in
sexual misconduct investigation, in the university setting, where Title IX
applies. Therefore, her expert opinion is limited to topics related to the
fact-finder’s investigation and presentation of the evidence to the UWC II
panel.
39Montague disputes the extent to which the panel deliberated since the
deliberations are not transcribed. The UWC II panel identified specific
reasons for their credibility determination. However, Montague’s
investigator, Murphy, opined that the credibility determination was tainted
because it was based on a flawed and biased collection, consideration, and
reporting of the evidence.
40The UWC procedures provide that the complainant and respondent must be
provided with the panel’s findings of fact and conclusion, and Montague
understood that he would not be informed of the panel’s recommendations.


                                     17
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 18 of 65



     On February 10, 2016, Dean Holloway accepted the UWC II

panel’s findings of fact and conclusion that Montague had

sexually assaulted Roe, in violation of Yale’s sexual misconduct

policies.    Holloway also decided that the appropriate penalty

was expulsion, as recommended by the UWC II panel.            Montague

filed an appeal from Dean Holloway’s February 10, 2016 decision

with Provost Benjamin Polak.

     On February 24, 2016, Provost Polak denied Montague’s

appeal.   Due to Montague’s expulsion, he was removed from Yale’s

basketball team, where he was the captain.41          There were articles

in the press reporting that Montague was expelled from Yale and

removed from the basketball team.

                                  STANDARD

     “The court shall grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.”            Fed. R.

Civ. P. 56(c).     “A dispute regarding a material fact is genuine

‘if evidence is such that a reasonable jury could return a

verdict for the nonmoving party.’”         Aldrich v. Randolph Cent.

Sch. Dist., 963 F.2d 520, 523 (2d Cir. 1992) (quoting Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).




41The team ultimately qualified for the NCAA Tournament, which it had not
accomplished since 1962.

                                     18
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 19 of 65



     The court must view all inferences and ambiguities “in a

light most favorable to the nonmoving party.”        Bryant v.

Maffucci, 923 F.2d 979, 982 (2d Cir. 1991), cert. denied, 502

U.S. 849 (1991).    “‘Only when reasonable minds could not differ

as to the import of the evidence is summary judgment proper.’”

Id. at 523 (quoting Bryant, 923 F.2d at 982).

                               DISCUSSION

I.   Deference

     As a threshold matter, Yale argues that this court owes

Yale deference in its disciplinary decisions.        Specifically,

Yale argues that courts “require only that an educational

institution has ‘substantially complied’ with its rules and

regulations” and that judicial review of its actions is limited

to whether the institution acted arbitrarily, capriciously, or

in bad faith.    While the cases cited by Yale demonstrate that

courts refrain from interfering with discipline arising out of

academic related issues and decisions which involve professional

judgment, they do not provide authority on cases involving

discipline arising from sexual misconduct.

     Indeed, the second circuit recognizes that “[w]hen

reviewing the substance of a genuinely academic decision, courts

should accord the faculty's professional judgment great

deference.” Powell v. National Bd. Of Med. Examiners, 364 F.3d

79, 88 (2d Cir. 2004) (citing Regents of Univ. of Michigan v.

                                   19
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 20 of 65



Ewing, 474 U.S. 214, 225 (1985))(emphasis added).           However,

“[e]ducational discretion is. . .         not limitless.”     Gupta v. New

Britain General Hospital, 239, Conn. 574, 595 (1996).            “[I]n

exercising its professional judgment, an educational institution

does not have license to act arbitrarily, capriciously, or in

bad faith.”    Id.   When an expulsion is “not grounded in

academic, but disciplinary reasons . . . the court need not

confer . . . the type of deference that is appropriate within

the context of an academic, rather than a contractual dispute,

which falls squarely within the court’s competency.”            McCarty v.

Yale University, CV 166063796S, 2017 WL 4508771 at 4 (Sup. CT

Aug. 29, 2017).      Because Montague’s expulsion was based on

sexual misconduct, and not “a genuinely academic decision,” this

court need not confer deference to Yale on the breach of

contract claims.42

II.   Breach of Contract Claims

      In his complaint, Montague alleges two related breach of

contract claims arising out of UWC I, and a myriad of breach of

contract claims arising out of UWC II.




42Although Yale further asserts that this court should apply an arbitrary and
capricious standard of review, it fails to provide sufficient support for
application of such limited review. The court notes that, even if the court
were to confer deference to Yale on the breach of contract claims, Montague
has demonstrated an issue of fact for the jury with respect to whether Yale’s
actions were arbitrary and capricious, given the evidence presented.

                                     20
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 21 of 65



     In Connecticut, “[t]he elements of a breach of contract

claim are the formation of an agreement, performance by one

party, breach of the agreement by the other party, and damages.”

Meyers v. Livingston, Adler, Pulda, Meiklejohn and Kelly, P.C.,

311 Conn. 282, 291 (2014).     “Every contract carries with it a

covenant of good faith and fair dealing requiring that neither

party do anything that will injure the right of the other to

receive the benefits of the agreement.       Maloney v. Connecticut

Orthopedics, P.C., 47 F. Supp. 2d 244, 249 (D. Conn. Mar. 22,

1999)(citing Habetz v. Condon, 224 Conn. 231, 238 (1992)).              “A

party's neglect or refusal to fulfill a contractual obligation

constitutes bad faith only if prompted by some interested or

sinister motive.”    Id. (citation omitted).      “Bad faith means

more than mere negligence; it involves a dishonest purpose.”

Feinberg v. Berglewicz, 32 Conn. App. 857, 862 (1993).          In this

case, the parties do not dispute that the relationship between a

student and a private university is contractual.         Instead, the

parties dispute whether Yale breached the agreement.

   (a)   Breach of Contract Arising from UWC I – Exhaustion of
         Administrative Remedies

     Yale first argues that Montague’s claims for breach of

contract in counts I and II, based on the UWC I proceedings,

must fail because Montague failed to exhaust his administrative

remedies.   Specifically, Yale argues that Montague could have

                                   21
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 22 of 65



raised lack of jurisdiction in response to the UWC I panel

report and/or in an appeal of Dean Mary Miller’s decision, but

Montague chose not to contest either decision.           Therefore,

according to Yale, he failed to exhaust his administrative

remedies and is barred from asserting any claims based on UWC I.

In support of its argument, Yale cites to Neiman v. Yale

University, 270 Conn. 244, 255-56 (2004), in which the court

held that the exhaustion of remedies doctrine applies to an

academic institution’s grievance procedures, contained in a

faculty handbook, in an employment case involving tenure.

      Montague responds that exhaustion of administrative

remedies applies only if there is an administrative remedy and,

in this case, there was no mechanism to challenge jurisdiction.43

Specifically, Montague responds that, since the UWC panel




43The relevant sections of the UWC procedures in effect at the time of the
UWC I proceedings indicate:
   7.5 Recommendation
   [T]he panel will complete a report, setting out its findings of fact, its
   conclusion as to whether or not those facts constitute a violation of
   University policy, and its recommended penalty, if any. The secretary will
   forward the report to the parties . . . . The parties may submit to the
   decision maker a written response to the panel’s report within three days
   of receiving it. . . .
   7.7. Appeals
   Any party may appeal the decision of the decision maker. . . . An
   appeal from the provost’s decision regarding a . . . student is made
   to the provost. . . . The only grounds for appeal are (i)
   procedural error that prevented the hearing panel or the decision
   maker from judging the matter fairly, or (ii) the discovery of facts
   that were not reasonably available to the appealing party prior to
   the UWC hearing and that support or refute the allegation of sexual
   misconduct.


                                     22
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 23 of 65



decides jurisdiction, their decision is final and not subject to

appeal.

     Yale responds that “an improper determination that the UWC

had jurisdiction would qualify as a procedural error” under the

UWC procedures.

     The court concludes that the defendants have failed to

provide a basis for judgment based upon Montague’s failure to

exhaust the administrative remedies.       The Neiman case is

specific to employment disputes regarding tenure, as

demonstrated by that court’s enumerated reasons for the

exhaustion requirement.     Yale has not provided, nor has this

court found, authority to support application of the exhaustion

of remedies doctrine on the facts of this case.         Therefore,

Yale’s motion for summary judgment on this basis is denied.

   (b)     Breach of Contract Arising from UWC I

     (i)    Count I

     Yale argues that it is entitled to summary judgment with

respect to Montague’s claim that the UWC lacked jurisdiction.

Specifically, Yale argues that Smith’s complaint “undeniably

alleged” sexual misconduct as defined by the sexual misconduct

policies and the UWC procedures.        Yale states that, since the

UWC chair, the UWC secretary, and another UWC member determined

that the UWC had jurisdiction over Smith’s complaint, the



                                   23
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 24 of 65



decision to accept jurisdiction is “consistent with Yale’s

policies.”

     Montague responds that because the incident involving Sally

Smith was not a matter of sexual misconduct, the UWC lacked

jurisdiction.   Specifically, he argues that the complaint does

not allege sexual misconduct based on the plain language of

Yale’s sexual misconduct policies.       Montague cites to an e-mail

between Post and Menon to support his allegation that the

“decision to pursue the matter through the UWC was a violation

of its own procedures and policies, and a breach of covenant of

good faith and fair dealing.”

     Section 7.1 of the UWC procedures provides, in relevant

part, that “[t]he [UWC] chair, in consultation with the secretary

and one other [UWC] member, will decide whether . . . the

complaint, if substantiated, would constitute a violation of

University policy concerning sexual misconduct. . . .         The UWC

will not hear formal complaints that do not meet these criteria.

. . .”   The introduction to the UWC procedures indicates that

“[s]exual misconduct incorporates a range of behaviors including

rape, sexual assault (which includes any kind of non-consensual

sexual contact), sexual harassment, intimate partner violence,

stalking, and any other conduct of a sexual nature that is non-

consensual, or has the purpose or effect of threatening or

intimidating a person or persons.”

                                   24
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 25 of 65



      Menon, the UWC secretary, Post, a UWC member, and Della

Rocca, the UWC chair, determined that the UWC had jurisdiction

over the August 25, 2013 complaint, based on Montague’s alleged

conduct.    On August 26, 2013, in considering jurisdiction, Menon

sent an e-mail to Post asking his opinion regarding

jurisdiction.    Post replied that “I think the crux is he is

alleged to have placed the plate down her shirt and between her

breasts.    Therefore[,] the act described in the complaint could

be viewed [as] an act of a sexual nature that was both non-

consensual and has the effect of intimidating a person.

Therefore[,] I think it falls within the jurisdiction of the

UWC[.]”    Montague cites to Post’s subsequent remark that “it may

be better served as a complaint to the executive committee

because it is on the edge and some panel members will have a

hard time seeing the sexual nature of the act.”

      On August 27, 2013 Menon forwarded Post’s e-mail to Della

Rocca.    Della Rocca, as the chair of the UWC, confirmed

jurisdiction44 and stated “I don’t think that this case would be

better sent to [the Executive Committee]” because of “precedent

of a somewhat similar case . . . that we handled in the UWC. .           .

.”   Menon testified at her deposition that she “thought the UWC

had jurisdiction” because “placing an object between a wom[a]n’s


44Della Rocca wrote that “I regard David as agreeing that we have
jurisdiction here.”


                                     25
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 26 of 65



breasts without her consent would be a violation of the sexual

misconduct policy, if shown to be true.”         She further testified

that she felt that the complaint “fell squarely within the

jurisdiction of the UWC.”

     The fact that Post speculated that the case is on the “edge”

and other members might “have a hard time seeing the sexual

nature of the act,” does not create a dispute as to jurisdiction.

In satisfaction of the UWC procedures, the chair, the secretary,

and another member of the UWC found that jurisdiction existed.45

     A five-member panel concluded that Montague violated Yale’s

policy on sexual misconduct by sexually harassing Smith.

Montague did not submit a response to the panel report.46            Dean

Miller accepted the findings of fact, the conclusion, and the

recommendations made by the panel.        Montague accepted full

responsibility, did not appeal, and did not challenge the UWC’s

jurisdiction until over two years later, when he filed the within

complaint.   Montague has failed to provide sufficient evidence

demonstrating a genuine issue of material fact in dispute that

the UWC lacked jurisdiction.       Therefore, the defendants’ motion

for summary judgment with respect to count I is granted.


45Della Rocca further wrote that “if a UWC panel feels that the case is non-
sexual, it is open to them to consider whether it would fall under some other
non-sexual-misconduct policy.”
46The five-member panel found that Montague’s unprovoked behavior “displayed
an absolute disregard for Smith as a female student” and walking away was
“demeaning, humiliating and reprehensible.”

                                     26
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 27 of 65



     (ii) Count II

     Yale argues that it is entitled to summary judgment on

Montague’s claim that the UWC I panel’s finding was contrary to

Yale’s sexual misconduct policies.       Specifically, Yale argues

that the plain language of the UWC procedures, the sexual

misconduct policies, Montague’s admission that he violated the

sexual misconduct policies, and his deposition testimony “make

clear . . . that [Montague] violated the sexual misconduct

policies.”   Yale states that there was adequate evidence to

support a finding of sexual harassment because Montague’s

behavior displayed an absolute disregard for Smith as a female

student.

     Montague responds that the UWC I panel’s finding of sexual

harassment was contrary to the plain language of Yale’s sexual

misconduct policies because it was not “nonconsensual conduct of

a sexual nature” which had the “purpose or effect of

unreasonably interfering with an individual’s work or academic

performance or creating an intimidating or hostile academic or

work environment.”    Therefore, he argues that Yale’s conduct

amounted to a breach of contract and a breach of the covenant of

good faith and fair dealing.

     Yale’s sexual misconduct policies define sexual harassment,

in relevant part, as “nonconsensual sexual advances, request for

sexual favors, or other verbal or physical conduct of a sexual

                                   27
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 28 of 65



nature on or off campus, when . . . such conduct has the purpose

or effect of unreasonably interfering with an individual’s work

or academic performance or creating an intimidating or hostile

academic or work environment.        Sexual harassment may be found in

a single episode . . . and sexual harassment is prohibited

regardless of the sex of the harasser or the harassed.”

     On August 25, 2013, Sally Smith filed a complaint with the

UWC alleging that Montague folded up his used pizza plate and

placed it down her tank top, between her breasts.           In her

complaint, Smith indicated that she “had never met [Montague]

until this encounter.”      The fact-finder’s report indicates that

Montague had no recollection of the incident or any events of

the night.    Montague indicated in his response to the complaint

that he “assume[s] that [he] was under the influence of alcohol

that night, as [he] do[es] not recall this incident.”47            Two of

Montague’s friends confirmed his behavior to the fact-finder.

Montague admitted that the incident must have occurred as

alleged and stated that he “accepts full responsibility for the

incident although he does not remember it” and indicated that he

“never meant to hurt or sexually harass” Smith.           The fact-



47Yale College undergraduate regulations provide that “students will be held
fully responsible for their own behavior, even when acting under the
influence of alcoholic beverages. . . . [T]he association of alcoholic
beverages with problem behavior will not be seen as a mitigating factor and
may be seen as an exacerbating factor.”


                                     28
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 29 of 65



finder’s report also indicates that Smith stated that Montague’s

“inappropriate conduct” caused her to “second-guess herself,

questioning whether she did anything to prompt or invite” his

behavior.48

      Montague attempts to show a dispute by arguing that Smith

also indicated that there “was no physical (skin-to-skin)

contact,” and that she described her interaction as

“peripheral.”49    However, the sexual misconduct polices do not

require skin-to skin contact.        Montague also cites Smith’s

statement that his action was an impulsive rather than a pre-

meditated act.     Montague provided no evidence, however, that the

UWC procedures require pre-meditation for a finding of sexual

misconduct.    Therefore, Montague has failed to show that these




48Smith further reported that she “did not act because [she] was so shocked,”
she “continued to think about what had happened for several days,” and wanted
Montague to “understand that his behavior was offensive and unacceptable.”
The panel found that Smith’s reaction of shock, anger, and the feeling of
being violated was reasonable.
49Although Montague testified that putting your hands or another object
between a woman’s breasts without consent violates Yale’s sexual misconduct
policy, he points out that he later clarified his testimony in an errata
sheet, by deleting his reference to “another object.” “Rule 30(e) allows
deponents to make ‘changes in form or substance’ to their testimony. . . .”
Podell v. Citicorp Diners Club, Inc., 112 F.3d 98, 103 (2d Cir. 1997) (citing
Fed. R. Civ. P. 30(e)). However, the deponent is “‘not entitled to have his
answers take the place of the original ones,’ and . . . his ‘changed answers
bec[o]me [simply a] part of the record generated during discovery.’” Id.
(quoting Podell v. Citicorp Diners Club, Inc., 914 F. Supp. 1025, 1027
(S.D.N.Y.1996)). In this case, Montague accepted responsibility during the
proceedings and during his deposition and attempts to correct his testimony
via an errata sheet. His “effort to retrieve the situation by scratching out
and recanting his original testimony does not weigh enough in the balance to
create an issue of fact for the jury.” Id.


                                     29
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 30 of 65



statements created a genuine issue of material fact for the

jury.50

      As such, the defendants’ motion for summary judgment with

respect to count II is granted.

     (c)   Breach of Contract Claims Arising from UWC II - Counts
           VII (A) through (H)

      The defendants argue that since they fully complied with

the UWC procedures in the UWC II proceeding, there was no breach

of contract and summary judgment is warranted.

      Montague responds that the defendants “employed a flawed

and biased process . . . slanted toward imposing and justifying

a disciplinary action against Montague” and violated specific

UWC procedures, resulting in a breach of contract and a breach

of the covenant of good faith and fair dealing.




50While Montague offers other extraneous arguments that his conduct did not
amount to sexual harassment, these arguments are also conclusory, immaterial,
and insufficient to create an issue of fact for the jury. For example,
Montague argues that his behavior was not inherently sexual in nature because
if he shoved a pizza plate down a man’s shirt, it would be similarly
offensive and unacceptable, but indisputably not sexual harassment. This
argument, however, does not create a genuine issue of material fact for the
jury. A dispute concerning a material fact is not created by a mere
allegation in the pleadings, or by surmise or conjecture. D’Amico v. City of
N.Y., 132 F.3d 145, 149 (2d Cir. 1998); see also Stuart & Sons, L.P. v.
Curtis Pub. Co., Inc., 456 F. Supp. 2d 336, 342 (D. Conn. 2006) (citing
Applegate v. Top Assoc., Inc., 425 F.2d 92, 96 (2d Cir. 1970); Quinn v.
Syracuse Model Neighborhood Corp., 613 F.2d 438, 445 (2d Cir. 1980)).
Montague provided no evidence or case law to support his argument. “Factual
disputes that are irrelevant or unnecessary will not be counted.” Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “Summary judgment cannot be
avoided by [alleging] immaterial factual disputes.” Howard v. Gleason Corp.,
901 F.2d 1154, 1159 (2d Cir. 1990).


                                     30
        Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 31 of 65



        (i)   Obligation to Maintain Confidentiality – Count VII(A)

        Yale argues that there are no issues of fact with respect

to Montague’s claim that it breached its confidentiality

obligations, either under the UWC procedures or the “Provost’s

Statement on Confidentiality.”         Specifically, Yale argues that

Gleason only stated that Montague already received sensitivity

training but did not reveal the fact or substance of the UWC I

proceedings to Roe.       Yale states that John Criscuolo, a SHARE

Center counselor, testified that “he provides sensitivity and

gender conduct training to students referred by the student’s

college Dean and to ‘self-referred’ students, as well as

students referred by the UWC. . . .          Thus, a statement that the

plaintiff had received sensitivity training is not tantamount to

a disclosure that he had been found responsible for violating

the Sexual Misconduct Policies. . . .”

        Montague responds that Gleason disclosed to Roe

confidential information regarding the UWC I proceedings in

order to persuade Roe to pursue a formal complaint.            He notes

that Berkman, the fact-finder in the UWC II proceedings, wrote

in her report that “Gleason explained to [Roe] that [Montague]

had already been given a recommendation for training after a

previous complaint and so that option was no longer open to

him.”     Montague also cites Berkman’s statement that Roe “was

especially motivated to participate in the investigation and

                                      31
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 32 of 65



hearing process after she heard that [Montague] had already had

another complaint against him, as she felt it was important to

protect other women.”      Montague points out that, in a draft

report, Berkman commented that “[t]his is an accurate

description of what Roe told me . . . .”          Finally, in a January

7, 2016 email response to the suggested edits, Berkman wrote

that “Roe didn’t really know what had been given before except

that it was related to a previous incident and the fact that it

had been given made it inappropriate to send him for more

training now.”

     Yale argues in its reply that Gleason and Roe deny that

Gleason informed Roe that a previous UWC complaint had been

filed against Montague, that he had been found responsible for

sexual misconduct, or that the training was due to a finding of

a violation of the sexual misconduct policies.

     The applicable UWC procedures51 provide, in relevant part,

that “[t]he UWC and all members of the Yale community who are

involved in a matter before the UWC are expected to maintain the

confidentiality of its proceedings and the information obtained

for those proceedings. . . .         All documents prepared by,

prepared for, or received from the UWC in connection with a UWC




51New UWC procedures came into effect on October 26, 2015, shortly after
Gleason met with Roe.


                                     32
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 33 of 65



proceeding ("UWC Documents") must be held in strict

confidence.”52

     In viewing all inferences and ambiguities “in a light most

favorable to the nonmoving party,” Fed. R. Civ. P. 56(c), the

court concludes that Montague has provided sufficient evidence

to establish a dispute over whether Gleason’s disclosures to Roe

were a breach of the confidentiality provisions of Yale’s UWC

procedures or motivated Roe to file a formal complaint.53

     Therefore, Yale’s motion for summary judgment is denied

with respect to count VII(A).

     (ii) Intentional Manipulation of Procedure – Count VII(B)

     Yale argues that it is entitled to judgment with respect to

the claim that it intentionally manipulated the UWC procedures.

Specifically, Yale argues that the UWC procedures allow a Title

IX coordinator to file a complaint “when there is evidence that

the University’s policies on sexual misconduct have been

violated and the [c]oordinator’s intervention is needed to

ensure that the matter reaches the UWC.”          Yale states that Roe




52The provost’s statement on confidentiality states in relevant part: “The
UWC's procedures impose strict and unequivocal confidentiality obligations
regarding documents prepared by, prepared for, or received from the UWC in
connection with a UWC proceeding ("UWC Documents").”
53Montague claims that admission of the evidence on this claim would fall
under an exception to the rule against hearsay. The court notes that any
arguments regarding hearsay will be addressed at the time of trial.

                                     33
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 34 of 65



agreed to file a formal complaint and participate as a witness

by talking to the fact-finder and participating in a hearing.

     Montague responds that, “except when there is a threat to

the community, the choice of whether to pursue a formal or

informal complaint is left entirely to the discretion of the

complainant.”   Therefore, Yale could not have brought a formal

complaint without agreement from Roe.       Montague further responds

that Yale’s Title IX leadership violated the duty of

impartiality, when they met and decided that they should pursue

a formal complaint and by inducing Roe to file a formal

complaint against him.

     Yale responds that, while Gleason, Killheffer, Spangler,

and Sawyer met to discuss the allegations, Montague has not

shown any evidence of pressure or coercion.

     Section 1 of the UWC procedures provides that “a

coordinator may bring a complaint when there is evidence that

the University’s policies on sexual misconduct have been

violated and the Coordinator’s intervention is needed to ensure

that the matter reaches the UWC.”

     The parties do not dispute that Roe ultimately agreed to

participate in a formal complaint as a witness with the UWC

coordinator as the complainant.      Montague has not provided any

evidence that Yale breached section 1 of the UWC procedures, by

bringing the complaint on Roe’s behalf.       However, Montague has

                                   34
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 35 of 65



provided sufficient evidence in his other breach of contract

counts, to create an issue of fact regarding whether Yale

pressured or coerced Roe into filing a formal complaint.

     Therefore, in viewing all inferences and ambiguities “in a

light most favorable to the nonmoving party,” Fed. R. Civ. P.

56(c), the court concludes that Montague has provided sufficient

evidence to establish a dispute over whether the defendants

intentionally manipulated the UWC procedures in order to

motivate Roe to file a formal complaint.        The defendants’

motion for summary judgment is denied with regard to count

VII(B).

    (iii) Full Participation in Hearing by Roe - Count VII(C)

     Yale argues that it is entitled to summary judgment with

respect to Montague’s claim that it violated UWC procedures by

allowing Roe to fully participate, even though she was not the

complainant.   Specifically, Yale argues that “since there is no

provision in the UWC procedures prohibiting [Roe] from

participating in the UWC process as if she had filed the formal

complaint on her own behalf, and the uniform practice has been

to permit the complaining witness to do so, [Montague] cannot

prevail” on this claim.     Yale argues that Montague has not

proffered any evidence to contradict the testimony of Menon and

Post that the uniform practice is to allow the primary witness

to participate fully in a complaint brought by a Title IX

                                   35
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 36 of 65



coordinator, because of firsthand knowledge.        Yale also states

that Montague failed to articulate how the procedure adversely

affected him.

     Montague argues in opposition that Roe was allowed to give

“an emotional opening statement about the incident and the

effect it had on her, attend the entire hearing, and otherwise

present herself as the complainant.”       Specifically, he responds

that the UWC procedures “provide for opening statements only by

the complainant and respondent and does not allow for non-party

witnesses to be present other than while testifying.”

     The relevant provision governing the hearing process is

section 7.4, which provides, in relevant part, that “the

complainant and the respondent will not appear jointly before

the panel at any stage of the hearing. . . .        Following these

statements, the panel will interview the complainant and then

the respondent.   At its sole discretion, the panel may request

the testimony of additional witnesses.”

     Montague has not provided any evidence disputing Menon and

Post’s testimony that the UWC has a practice of allowing the

primary witness to fully participate in the hearing of a

complaint initiated by the Title IX coordinator.         However,

Section 7.4 allows only the complainant and the respondent to

make a brief statement.     While the panel may request the

testimony of additional witnesses, at their sole discretion,

                                   36
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 37 of 65



section 7.3 provides that “[n]ormally, the panel will call a

witness other than the parties only if the witness can offer

potentially relevant information that was not conveyed to the

fact-finder.”    Section 7.4 also provides that “unless both

parties ask to appear jointly, the complainant and the

respondent will not appear jointly before the panel at any stage

of the hearing.”

      In viewing all inferences and ambiguities “in a light most

favorable to the nonmoving party,” Fed. R. Civ. P. 56(c), the

court concludes that there are issues of material fact with

regard to whether Yale violated their own procedures by allowing

Roe full participation in the hearing, even though she was not

the complainant.54      Therefore, the defendants’ motion for

summary judgment is denied with respect to count VII(C).

     (iv)     Hearing Panel Appointment Procedures – Count VII(D)

      Yale argues it is entitled to summary judgment with respect

to Montague’s claim that Post, as UWC chair, improperly

appointed himself as panel chair in UWC II, even though he

participated in a meeting with Roe.         Specifically, Yale argues

that Post did not participate in the resolution of an informal



54Montague also argues that by allowing Roe to participate fully and by
having Killheffer as the complainant, Yale put the “full weight of its
authority” behind Roe, thereby “implicitly vouching for her credibility.”
Yale argues that Montague provided no evidence that these circumstances
“influenced any of the UWC II panel members’ deliberations or decision
making.”

                                     37
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 38 of 65



complaint because he met with Roe “solely to answer her

questions regarding the UWC process, after she indicated that

she might be interested in a formal complaint.”         Yale relies on

Gleason and Roe’s testimony confirming that Post met with Roe to

answer questions regarding the UWC process.

     Montague responds that Post’s self-appointment to the UWC

panel violated section 7.2 of the UWC procedures because he

participated in the resolution of Roe’s informal complaint.

Montague also responds that he had the right to question Post’s

impartiality because Post “join[ed] the effort to convince Roe

to authorize the filing of a formal complaint, by offering her

‘comfort’ in the form of a complaint filed in the name of the

Title IX office.”    Montague states that this “pre-hearing ex

parte role was not disclosed to him” and deprived him of the

opportunity to request Post’s recusal as allowed under UWC

procedures.

     Section 7.2 of the UWC procedures provides that “[t]he

hearing panel will not include any member who has participated

in the resolution of an informal complaint arising out of the

same events.   The panel members . . . will receive a copy of the

complaint and response and must withdraw from the proceedings if

their relationship to the complainant or the respondent or other

circumstances lead them to believe that they cannot judge the

matter fairly.”

                                   38
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 39 of 65



     The parties appear to dispute what “the resolution of an

informal complaint” means in the UWC procedures.         Section 6 of

the UWC procedures indicates that “[for] the resolution of an

informal complaint, the UWC Chair or Secretary will contact a

Title IX Coordinator, who may offer an informal investigation,

mediation, counseling, or other means of resolving the

complaint.”    Montague provided evidence that on November 4,

2015, Gleason, deputy Title IX coordinator, attended a meeting

with Stephanie Spangler, deputy provost for health affairs and

academic integrity and Title IX coordinator, Susan Sawyer,

general counsel, and Jason Killheffer, senior deputy Title IX

coordinator, regarding Montague.        Gleason also attended an

additional meeting with Sawyer, Killheffer, Menon, UWC

secretary, and Post, UWC chair.      On or about November 6, 2015,

Gleason contacted Roe to request a meeting to discuss a new

development.   Gleason asked Post to be on standby during the

meeting between she and Roe so that Post could answer any

questions Roe might have about the UWC process.         Gleason

testified that Roe did have questions about the UWC procedures.

Gleason testified that Post joined the meeting either “halfway”

or “two-thirds” of the way through the meeting.         Gleason further

testified that this was “the first time that [she] asked [Post]

to be on standby. . . .” and she had never “involved [Post] in



                                   39
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 40 of 65



meetings on prior occasions with any other complainants.”55

While Yale points out that Roe was already considering filing a

formal complaint before Post spoke with Roe, Roe did not agree

to participate in a formal complaint on that day.           On or about

November 9, 2015, Roe agreed to participate as a witness in a

formal complaint, filed by the UWC coordinator.

     In viewing all inferences and ambiguities “in a light most

favorable to the nonmoving party,” Fed. R. Civ. P. 56(c), the

court concludes that, based on these facts, there is a genuine

issue of material fact as to whether there was a “resolution of

an informal complaint,” and whether Post’s participation in that

meeting motivated Roe to change her informal complaint into a

formal complaint.     Therefore, the court concludes that the

defendants’ motion for summary judgment is denied with respect

to count VII(D).

     (v)      Findings Constituting a Violation by a Preponderance
              of Evidence – Count VII(E)

     Yale argues that it is entitled to summary judgment with

respect to Montague’s claim that the UWC panel failed to make

sufficient findings of sexual assault.         Yale states that the UWC

properly fulfilled its duty to look at the evidence and

determine credibility.      Specifically, Yale points out that Roe




55However, Post testified that he had received e-mails from Gleason asking
him to by on standby before.

                                     40
        Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 41 of 65



told Montague three times that she did not want to have sexual

intercourse and never consented to intercourse, either by word

or action.       According to Yale, the UWC panel deliberated and

identified specific reasons to credit Roe’s version of the

events over Montague’s version and properly found Roe’s account

more credible.

        Montague argues in opposition that the fact-finder and the

UWC II panel were biased in their collection, consideration, and

reporting of the evidence.56         Specifically, Montague argues that

they failed to seek exculpatory evidence, cast Roe’s

inconsistencies as consistencies, placed unfair weight on a

supposed inconsistency in Montague’s recollections, failed to

probe Roe’s motive,57 and transformed and obliterated undisputed

evidence to remove facts58 which raised questions about whether

Roe consented.59       Montague also argues that there was pressure on


56   Montague relies on the testimony of Murphy, his expert witness.
57He noted that they changed positions during intercourse and he argues that
Roe didn’t properly explain why she returned to his apartment and stayed the
night.
58For example, Montague argues that the fact-finder wrote that Roe consented
to him “touching her genitals” when, in fact, “she consented, non-verbally,
to digital penetration.” Montague further argues that the panel may see this
as evidence that Roe “changed her mind.” Yale responds that Roe reported
that she said “no” prior to intercourse and Roe had previously consented to
“hook up and not have sex.” As such, Yale argues that Roe had previously
verbally consented to all sexual acts “short of intercourse.”
59Montague argues that Yale’s Title IX office has a contractual duty of
impartiality requiring it to avoid influencing a complainant’s decision
whether to file a formal or informal complaint. The court has concluded that
there are genuine issues of material fact regarding whether Yale adhered to
its UWC procedure in this regard.

                                        41
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 42 of 65



Yale to be tough on perpetrators of sexual misconduct and the

Title IX office was trying to use his popularity as the captain

of the basketball team to show that Yale was being tough on

sexual misconduct.60

     Section 7.3 of the UWC procedures provides that “the UWC

Chair will appoint an impartial fact-finder to assist in the

investigation of the allegations.         The Secretary will provide

the fact-finder with the complaint, the response, and any other

information provided by the parties.        The fact-finder will

gather documents and conduct interviews as necessary to reach a

thorough understanding of the facts and circumstances

surrounding the allegations of the complaint.”          Section 7.5 of

the UWC procedures requires that “the panel . . . consider

whether the respondent has violated the University policy,

giving an affirmative answer if it satisfied that a violation

has been shown by a preponderance of the evidence.”

     In viewing all inferences and ambiguities “in a light most

favorable to the nonmoving party,” Fed. R. Civ. P. 56(c), the

court concludes that there is a genuine issue of material fact

with respect to the impartiality of the hearing, given the

disputed evidence presented in the other breach of contract


60Montague provided e-mails and edits to the fact-finder’s report from the
UWC chair and others which may raise other issues of fact. Section 7.3, of
the UWC procedures, indicates that “[a]fter reviewing the [fact-finder’s]
report, the UWC Chair may request clarifications and additional
investigations.”

                                     42
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 43 of 65



claims.     Therefore, the defendants’ motion for summary judgment

is denied with respect to count VII(D).

     (vi)     Violation of Section 7.4 & 7.5 of the UWC Procedures
              – Reliance on UWC I – Counts VII(F)61 and (G)

      With respect to count VII(G), Yale argues that it is

entitled to summary judgment on Montague’s claim that it

breached UWC procedures when it considered and relied upon the

UWC I discipline, for culpability in UWC II.           Specifically, Yale

argues that the UWC procedures “explicitly state that

information regarding prior discipline is to be discussed only

during the panel’s deliberations on culpability, which

necessarily occurs outside the presence of the complainant and

respondent.”    Yale argues that Montague received a copy of UWC

procedures prior to the hearing, which informed him that the

discipline that he received in UWC I could be considered when

assessing culpability.      Yale states that Montague “was not

precluded from discussing UWC I during UWC II.”

      Montague argues in opposition that Section 7.4 of the UWC

procedures indicates that consideration of previous formal




61In count VII(F), Montague argues that Yale breached Section 7.4 of the UWC
procedures by taking into consideration the UWC I proceedings for culpability
because it “did not in fact involve any ‘acts of sexual misconduct.’” The
court has concluded that there are no genuine issues of material fact in
counts I and II of Montague’s complaint, regarding UWC I. Therefore, the
court concludes that there are no genuine issues of material fact for the
jury on count VII(F), for the reasons previously articulated, and Yale is
entitled to judgment as a matter of law.


                                     43
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 44 of 65



discipline occurs at the hearing phase of the proceedings.

Montague also responds that the UWC procedures indicate that the

parties have the right to be present for the hearing, with the

only limitation that the complainant and the respondent will not

jointly appear before the panel.        Montague points out that he is

entitled to hear and to respond to all evidence against him,

considered by the panel, in determining his culpability and only

the deliberations should be conducted following the hearing.

     Section 7.4 of the UWC procedures, entitled “Hearing,”

discusses the hearing procedure and indicates, in relevant part,

that, “the complainant and the respondent will not appear

jointly before the panel at any stage of the hearing.          The party

who is not before the panel will be in a private room with audio

access to the proceedings. . . .        In determining culpability,

the panel may also take into account a respondent's previous

formal discipline for other acts of sexual misconduct, including

written reprimands, and the respondent's criminal conviction

arising out of the events complained of.”

     Section 7.5 of the UWC procedures, entitled “Findings,

Conclusions, and Recommendations,” provides, in relevant part,

that, “[f]ollowing the hearing, the panel will consider whether

the respondent has violated University policy giving an

affirmative answer if it is satisfied that a violation has been

shown by a preponderance of the evidence. . . .         If a party is

                                   44
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 45 of 65



found to have violated University policy, the panel will

recommend a penalty.      The Secretary will inform the panel about

the nature of previous penalties assessed for similar

violations.    The Secretary will also describe any formal Yale

discipline previously imposed on the respondent, and the panel

may consider this prior discipline in its recommendations

regarding a penalty.”

      The parties do not dispute that Menon, UWC secretary,

disclosed to the panel Montague’s UWC I discipline for sexual

harassment, outside of Montague’s presence.           The parties do not

dispute that the UWC I was not contained in the fact-finder’s

report.     The February 1, 2016 panel report clearly indicates

that the panel considered Montague’s previous formal

disciplinary history with the UWC when it concluded that he

sexually assaulted Roe in violation of Yale’s misconduct

policy.62    In addition, the panel took into consideration the UWC

I hearing and the written reprimand from the Executive Committee

for “Defiance of Authority” in determining the penalty.63



62 The panel report indicates: “Conclusion: In accordance with Section 7.4
of the UWC's Procedures, the panel takes into account Mr. Montague's previous
formal disciplinary history with the UWC for violating Yale's sexual
misconduct policy when reaching its conclusion. The panel concludes by a
preponderance of evidence that Mr. Montague sexually assaulted Ms. [Roe] in
violation of Yale’s sexual misconduct policy.”
63 The panel report indicates: “Recommendation: In accordance with section 7.5

of the UWC's Procedures, the panel takes into account its conclusion in this
case and the two previous formal disciplinary findings against Mr. Montague
when making its recommendation.”

                                      45
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 46 of 65



     Post testified that, when providing information on a prior

complaint, the “practice of the secretary is to give a couple

sentence description of the case without identifying details,

but . . . with enough detail that the panel can understand the

previous violation and then the penalty.”        He further testified

that the panel does not receive the fact-finder’s report from

the prior complaint.    Post testified that the disclosure of the

prior discipline happens at the hearing, but not in the presence

of the complainant or the respondent because the “respondent’s

disciplinary history is confidential, and we would not share

that with the complainant.”

     Montague has failed to demonstrate any genuine issues of

material fact with respect to whether Yale violated the UWC

procedures regarding this issue.        No provision in the UWC

specifically provides that evidence and/or information regarding

prior discipline is to be presented during the hearing and in

the presence of the respondent.      Therefore, the defendants’

motion for summary judgment is granted with regard to count

VII(G).

     (vii) Violation of Section 7.5 - Reliance on the Executive
          Committee’s Reprimand – Count VII(H)

     Yale argues that it is entitled to summary judgment with

respect to Montague’s claim that Yale violated the UWC

procedures when it relied on the Executive Committee’s


                                   46
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 47 of 65



reprimand.   Specifically, Yale argues that the Executive

Committee’s letter to Montague does not state that only the

Executive Committee would consider the reprimand if Montague

subsequently violated the undergraduate regulations.

     Montague argues in opposition that the letter specifically

refers to an infraction under the undergraduate regulations

found by the “Executive Committee.”       He states that it does not

indicate that the UWC could, or would, take the reprimand into

consideration in adjudicating a complaint alleging a violation

of Yale’s sexual misconduct policies.

     Section 7.5 of the UWC procedures provides that “[t]he

Secretary will also describe any formal Yale discipline

previously imposed on the respondent, and the panel may consider

this prior discipline in its recommendations regarding a

penalty.”

     On September 24, 2015, the Executive Committee informed

Montague, by letter, that he violated Yale’s undergraduate

regulations governing “Defiance of Authority” due to his conduct

on September 6, 2015.    The letter states that the reprimand was

a “matter of internal record only” and that Montague was free to

deny its existence if ever asked if he had been subject to

disciplinary sanctions at Yale.      The letter further states that

“the reprimand will be taken into consideration in determining a

penalty if you should ever again be found by the Executive

                                   47
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 48 of 65



Committee to have committed an infraction of the [u]ndergraduate

[r]egulations.”

      The UWC procedures allow the panel to consider any formal

Yale discipline previously imposed on the respondent, in

determining a penalty.      Ultimately, Montague admitted that the

Executive Committee’s decision is a formal disciplinary matter

which could be considered by the UWC.

      Therefore, the defendants’ motion for summary judgment is

granted with regard to count VII(H).

      (viii) Duty of Fairness – Count VIII

      Yale argues that with respect to Montague’s claim that they

breached a duty to ensure that the UWC II proceedings were

conducted with basic fairness, “most of the allegations under

count VIII are included in the breach of contract claims.”               As

such, they stand with their arguments in those sections.             With

regard to Montague’s additional arguments, Yale argues that they

provided Montague with a fair, thorough, and impartial hearing,

and did not act arbitrarily or capriciously in their decision to

expel Montague.64




64Yale argues that “courts have recognized the need to give a university
broad discretion to decide students disciplinary sanctions and the jury in
this case should not be allowed to substitute its judgment for that of the
UWC Panel and the Dean. . . .” Yale further argues that “an intervention in
Yale’s processes would be particularly inappropriate given the absence of any
evidence to support [Montague’s] claim that, in similar cases, the penalty
has been limited to a reprimand.”


                                     48
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 49 of 65



     Montague argues in his opposition that Yale’s conduct with

respect to the UWC II proceedings, considered as a whole,

deprived him of basic fairness.        Specifically, Montague argues

that “Yale promises a sexual misconduct adjudicatory process

which is fair, thorough, and impartial.”          Montague also argues

that Yale breached its duty of fairness by breaching the UWC

procedures and argues that Yale failed to provide him with

adequate notice of the complaint, failed to provide him with an

opportunity to respond to the recommended penalty in advance,

and arbitrarily and capriciously decided on an expulsion rather

than a reprimand as a penalty.        Montague argues that, as captain

of the basketball team, “his fate was virtually guaranteed.”

     Since the court concludes that there are genuine issues of

material fact regarding the previously articulated breaches of

contract claims based on the UWC procedures and Montague bases

this claim and argument on those claims,65 summary judgment is

not warranted with regard to count VIII.

III. Title IX Gender Based Discrimination - Counts III and IX

     Yale argues that it is entitled to judgment on Montague’s

gender discrimination claims because he failed to provide

sufficient evidence of gender discrimination.




65Since the court is not granting summary judgment on this count based on his
breach of contract claims, the court need not address Montague’s additional
arguments regarding inadequate notice and penalty at this time.

                                     49
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 50 of 65



      Montague argues in his opposition that he has established a

prima facie case of gender discrimination and “his expulsion was

motivated, at least in part, by his gender.”

      Title IX of the Civil Rights Act of 1972 provides that

“[n]o person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or

activity receiving Federal financial assistance . . . .”           20

U.S.C. § 1681.

      “Title IX bars the imposition of university discipline

where gender is a motivating factor in the decision to

discipline.”     Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir.

1994).     Allegations of gender bias with respect to university

disciplinary proceedings generally fall into two categories: 1)

erroneous outcome cases and 2) selective enforcement cases.              Id.

“[I]n neither case do wholly conclusory allegations suffice. . .

.”   Id.

         (a)   UWC I – Count III

      Yale argues that Montague failed to exhaust his

administrative remedies with respect to UWC I by not contesting

the panel report and not electing to appeal and, therefore, the

Title IX discrimination claim based on UWC I should be

dismissed.     Yale further argues that, even if he did not fail to

exhaust his administrative remedies, there is no evidence that

                                    50
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 51 of 65



gender was a motivating factor in this decision and Montague has

not provided any evidence of intentional discrimination based on

gender.66

      While the complaint alleges that “Yale would not have

considered the matter a UWC matter” nor found sexual harassment

had the perpetrator been a woman, Montague has failed to provide

any evidentiary support for his allegation.          “Conclusory

allegations will not suffice to create a genuine issue.”             Del. &

Hudson Ry. Co. v. Conrail, 902 F.2d 174, 178 (2d Cir. 1990).

Montague has not provided any evidence that Yale’s decision to

treat Smith’s UWC I complaint as sexual misconduct was due to

gender bias, nor has he provided evidence that a similarly

situated female was treated differently under similar

circumstances.     In addition, for purposes of this motion,

Montague does not contest that Menon, Della Rocca, and Post “did

not discriminate against Montague based on his gender.” Montague

admits that the UWC I panel members and Dean Miller did not

discriminate against him based on gender.          Therefore, Montague

has failed to show that “gender [was] a motivating factor in the


66Yale argues in its reply that summary judgment should enter with regard to
count III since Montague did not challenge the motion for summary judgment in
his response. The court notes that Montague subsequently filed a sur-reply,
which also did not specifically address count III. “[I]n the case of a
counseled party, a court may, when appropriate, infer from a party's partial
opposition that relevant claims or defenses that are not defended have been
abandoned.” Jackson v. Federal Exp., 766 F.3d 189, 198 (2d Cir. 2014).
However, in his opposition and his sur-reply, Montague did address Title IX
generally. Therefore, in an abundance of caution, the court will address the
merits of count III.

                                     51
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 52 of 65



decision to discipline,”67      Yusuf, 35 F.3d 709 at 715, with

respect to UWC I.

     The defendants’ motion for summary judgment is granted with

respect to count III.

       (b)   UWC II – Count IX

     Yale argues that Montague failed to produce any evidence

demonstrating that the defendants intentionally discriminated

against him based on his gender with respect to UWC II.

Specifically, Yale argues that since Montague failed to provide

any evidence of gender bias, summary judgment should enter in

count IX.    Yale points out that under the burden shifting

framework established in McDonnell Douglas Corp. v. Green, 411

U.S. 792 (1973), even assuming that Montague could establish a

prima facie case of gender discrimination under Title IX, he

cannot demonstrate that Yale’s proffered reason, a violation of

the misconduct policies, was a pretext for discrimination.

     Montague argues in opposition that, under the McDonnell

Douglas framework, a “prima facie case, combined with sufficient

evidence to find that the [defendant’s] justification is false,


67In so far as Montague is arguing that the sexual misconduct policies have a
disparate impact on males, the court notes that “[w]hile a private plaintiff
may bring a claim under Title IX for intentional discrimination, courts have
held that a private right of action based on the alleged disparate impact of
a policy is not cognizable under Title IX.” Nungesser v. Columbia
University, 244 F. Supp. 3d 345, 362 (S.D.N.Y Mar. 24, 2017) (citations
omitted); see also Xiaolu Peter Yu v. Vassar College, 97 F. Supp. 3d. 448,
461 and note 6 (S.D.N.Y. Mar. 31, 2015).


                                     52
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 53 of 65



may permit the trier of fact to conclude that the [defendant]

unlawfully discriminated.”       Montague relies on Doe v. Columbia

University, 831 F.3d 46 (2d Cir. 2016), to support his argument

that he has established a prima facie case of gender

discrimination under Title IX.68        Montague cites to the fact that

“Yale faced immense pressure to crack down on the perceived

epidemic of sexual misconduct.”69         He argues that he “need not

produce additional, independent evidence of discrimination where

he has satisfied a prima facie case and produced sufficient

evidence from which a jury could reject the defendant’s

proffered explanation for its conduct.”

      Yale replies that Montague’s reliance on Doe v. Columbia

University, 831 F.3d 46 (2d Cir. 2016), is misplaced because the

standard of proof articulated by the second circuit in Doe “was

limited to the specificity of pleading necessary to survive a

motion to dismiss” and not summary judgment.           Yale argues that

Montague’s burden at the summary judgment stage is significantly

higher; he must “demonstrate a genuine issue of material fact,



68In Doe v. Columbia University, the second circuit remanded the case for
further proceedings, concluding that the plaintiff adequately pled facts that
could plausibly support at least the needed minimal inference of gender bias
to withstand a 12(b)(6) motion to dismiss, due to the temporary presumption
under McDonnell Douglas, where the plaintiff pled allegations similar to the
allegations pled by Montague in this case. Doe v. Columbia University, 831
F.3d at 57.
69Montague points out that the AAU survey and Salovey’s call to redouble
efforts happened on the same day that Gleason met with Roe to discuss a
formal complaint.

                                     53
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 54 of 65



not merely allegations of a plausible inference of gender bias.”

Yale states that “none of Montague’s arguments demonstrate that

the defendants were under pressure to target male students in an

effort to address the issue of sexual misconduct on campus.”

      Montague makes two arguments in his sur-reply to show that

he provided sufficient evidence to show gender bias.            First, in

support of his argument that Yale was under immense pressure to

crack down on sexual misconduct, he provides evidence that Yale

was pressured due to the Office of Civil Rights complaint,

alleging that a sexually hostile environment existed at Yale,

and the statement that Yale had not responded in a prompt and

adequate manner.70     Next, Montague argues that statements made by

members of the disciplinary tribunal and statements by other

university officials during Yale’s Fall 2015 training for Title

IX and UWC personnel, “show[] that the outcome of the

disciplinary action against him was motivated at least in part

by his male gender.”71



70Montague also provided evidence of a hostile campus climate through
reference to an open letter written by alumni to Salovey and Spangler, the
AAU campus climate survey results, Salovey’s call to redouble its efforts,
and media articles on Yale’s campus climate. He states that he was a high-
profile student because he was the captain of the basketball team and the
team was on its way to qualifying for the NCAA Tournament, which it had not
accomplished since 1962. He points out that there were articles in the press
on the basketball team and on him. Montague states that this is enough to
show an inference of discriminatory intent based on gender bias.
71The court notes that Montague first made this argument in his sur-reply,
after receiving, in discovery, video recordings from Yale’s Fall 2005 two-day
annual refresher training, which he provided to the court.


                                     54
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 55 of 65



     In this case, both parties make arguments regarding the

impact of the McDonnell Douglas burden shifting framework.              See

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).

“Under McDonnell Douglas, the plaintiff bears the initial burden

of establishing a prima facie case of discrimination.          If the

plaintiff does so, the burden shifts to the defendant to

articulate ‘some legitimate, nondiscriminatory reason’ for its

action.   Once such a reason is provided, the plaintiff can no

longer rely on the prima facie case, but may still prevail if

[he or] she can show that the . . . determination was in fact

the result of discrimination.”      Gorzynski v. JetBlue Airways

Corp., 596 F.3d 93, 106 (2d Cir. 2010) (quoting McDonnell

Douglas, 411 U.S. at 802 and citing Holcomb v. Iona College, 521

F.3d 130, 138 (2d Cir. 2008)).

      In the context of Title IX gender discrimination claims,

erroneous outcome cases refer to cases in which the plaintiff

claims that “[he] was innocent and wrongfully found to have

committed an offense.”     Yusuf v. Vassar Coll., 35 F.3d 709, 715

(2d Cir. 1994).   “To establish an erroneous outcome, a plaintiff

must first provide evidence indicating that the outcome of the

proceeding was flawed.”     Doe v. Colgate University, 5:15-CV-1069

(LEK/DEP), 2017 WL 4990629 at *11 (N.D.N.Y Oct. 31, 2017),

aff’d, No 17-3594-cv, 2019 WL 190515 (2d Cir. Jan. 15,

2019)(summary order)(citing Yusuf, 35 F.3d 709 at 716).          The

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      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 56 of 65



plaintiff can provide evidence that “cast[s] some articulable

doubt on the accuracy of the outcome of the disciplinary

proceeding” or evidence of “particular procedural flaws

affecting the proof.”      Yusuf, 35 F.3d 709 at 715.        Next, the

plaintiff must provide evidence of a “causal connection between

the flawed outcome and gender bias.”         Id.   The plaintiff must

show that “gender bias was a motivating factor behind the

erroneous finding,” id.,72 and “not merely allegations of a

plausible inference of gender bias.”         Doe v. Colgate University,

5:15-CV-1069 (LEK/DEP), 2017 WL 4990629 at *12 (N.D.N.Y Oct. 31,

2017), aff’d, No. 17-3594-cv, 2019 WL 190515 (summary order)(2d

Cir. Jan. 15, 2019).

      The second circuit recently upheld a case where the

district court granted summary judgment, concluding that the

same types of external pressures articulated by Montague in this

case,73 without something more, did not create a genuine issue of

fact for the jury.     Doe, 2019 WL 190515.        Montague must show


72See also, Doe v. Colgate University, 5:15-CV-1069 (LEK/DEP), 2017 WL
4990629 at *11 (N.D.N.Y Oct. 31, 2017), aff’d, No 17-3594-cv, 2019 WL 190515
(summary order)(2d Cir. Jan. 15, 2019)(“Because Title IX prohibits (under
covered circumstances) subjecting a person to discrimination on account of
sex, it is understood to ‘bar[ ] the imposition of university discipline
where gender is a motivating factor in the decision to
discipline.’”)(citation omitted).
73The allegations in Doe v. Columbia University, 5:15-CV-1069 (LEK/DEP), 2017
WL 4990629 at *12 (N.D.N.Y Oct. 31, 2017), include the fact that the
university was under pressure to punish male students accused of sexual
misconduct. These pressures included the “Dear Colleague Letter,” the Sexual
Climate Forum, anti-sexual assault advocacy, the president’s message, student
activism, and allegations that the training was biased against men.


                                     56
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 57 of 65



evidence, such as, “statements made by members of the

disciplinary tribunal, statements by pertinent university

officials, or patterns of decision-making that also tend to show

the influence of gender.”       Yusuf, 35 F.3d 709 at 715.

      In this case, Montague relies on his breach of contract

allegations and his allegation of tortious interference with a

contractual relationship to provide evidence of procedural flaws

and to cast doubt on the accuracy of the outcome of the

proceeding.    However, even assuming that Montague can prove that

the proceedings were flawed due to Yale’s failure to follow its

own procedures, Montague must provide evidence to support the

conclusion that Yale’s actions were motivated by gender bias.74

      For support that he provided sufficient evidence to show

gender bias, Montague relies on evidence supporting his claim

that Yale was under extreme pressure to prosecute sexual

misconduct cases and relies on examples of statements and

actions from Yale’s Fall 2015 training for Title IX and UWC

personnel.    While Montague may have shown that Yale was under

pressure to be tough on complaints of sexual misconduct, he has




74Even if a plaintiff’s “insistence that the sexual encounters were
consensual was sufficient to raise a disputed issue of material fact on the
question of misconduct, to resist summary judgment [the plaintiff] must
demonstrate a genuine dispute of material fact as to whether [the
University’s] actions were motivated by gender bias.” Doe v. Colgate
University, No. 17-3594-cv, 2019 WL 190515 (summary order)(2d Cir. Jan. 15,
2019).


                                     57
        Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 58 of 65



not shown that this pressure created a bias toward males, over

females.75 See Doe, 2019 WL 190515.

        In addition, Montague has failed to show evidence of

“statements made by members of the disciplinary tribunal,

statements by pertinent university officials, or patterns of

decision-making that also tend to show the influence of gender.”

Yusuf, 35 F.3d 709 at 715.        The statements and actions that

Montague cites in his sur-reply, with respect to Yale’s 2015

training, were taken out of context and do not create a genuine

issue of material fact regarding gender bias.           For example,

Montague points to a comment made by Spangler that “we don’t

have enough complaints.”        However, Spangler was discussing how

Yale had to reach out and change the culture, climate, and

behavior and that the survey showed that people effected by

sexual misconduct were not reporting those incidents at a high

rate.     This comment does not show gender bias.

        Another example that Montague points to is that Ms. Boyd,

assistant dean of student affairs, acknowledged at the training

that “‘[a]lmost always, [there is] a presumption of female

victims, male perpetrator.’”         However, Boyd did not make that



75Regarding Montague’s argument that the evidence shows that the problem
“Yale was called upon to solve was overwhelmingly a problem of sexual
assaults committed by males against females,” a private right of action for
disparate impact is not cognizable under Title IX. See, Xiaolu Peter Yu v.
Vassar College, 97 F. Supp. 3d. 448, 461 and note 6 (S.D.N.Y. Mar. 31, 2015).


                                      58
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 59 of 65



alleged comment.     Instead, it was a bullet point on a slide to

which she was referring.       Boyd was commenting about prior

studies from other campuses and she was pointing out that some

past outside studies gave women victim surveys, and males

perpetrator surveys, but noted that Yale did not do that in its

survey.   Montague also cites to the fact that, at the training,

Boyd presented outside research studies concerning sexual

assault by college males, but then commented that: “We know that

women commit acts of sexual violence – it turns up a little bit

on our survey as well- but nobody, has done any significant

research on that so I don’t have much of anything to present on

that.”    The fact that no outside research studies were available

on sexual violence committed by women is not sufficient to show

that Yale is biased against males.76

      The court concludes that Montague failed to provide

evidence77 that his gender was a motivating factor in Yale’s

decision to discipline him.       Therefore, the court concludes that

there are no genuine issues of material fact for the jury and

Yale is entitled to judgment as a matter of law on count IX.


76While Montague points to several other comments, these comments were also
taken out of context and, after reviewing the content of the video recordings
presented as evidence, the court concludes that the other comments do not
create a genuine issue of material fact regarding gender bias.
77While Montague argues that he does not need to provide direct evidence of
discrimination, he has failed to provide any indirect evidence that he was
disciplined because he was male. Although, Montague argues that he was a
popular male athlete, Title IX does not provide protection for athletes.


                                     59
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 60 of 65



IV.   Other Common Law Claims arising from UWC II

      (a)    Defamation against Yale University and Gleason - Count
             IV

      Yale argues that Montague has not challenged its motion for

summary judgment with regard to count IV.           Therefore, Yale

argues that summary judgment should be granted.

      The court agrees.      Montague failed to address count IV in

his opposition to Yale’s motion for summary judgment and in his

sur-reply.    “[I]n the case of a counseled party, a court may,

when appropriate, infer from a party's partial opposition that

relevant claims or defenses that are not defended have been

abandoned.”    Jackson v. Federal Exp., 766 F.3d 189, 198 (2d Cir.

2014).   In addition, a party cannot defeat a motion for summary

judgment “by relying on the allegations in his pleading . . .

or on conclusory statements, or on mere assertions that

affidavits supporting the motion are not credible.”             Gottlieb v.

County of Orange, 84 F.3d 511, 51 (2d Cir. 1996).            Therefore,

the defendants’ motion for summary judgment is granted with

regard to count IV.78


78 Even assuming arguendo that the Montague did not abandon his claim in count

IV, he did not allege a cognizable claim for defamation. Montague’s
allegations relate solely to statements made by Gleason to Roe regarding UWC
I. It is well settled that “for a claim of defamation to be actionable, the
statement must be false . . . and under the common law, truth is an
affirmative defense to defamation . . . the determination of the truthfulness
of a statement is a question of fact for the jury.” Cweklinsky v. Mobil
Chemical Co., 267 Conn. 210, 228-229, 837 A.2d 759 (2004)(citations omitted).
Montague failed to provide evidence of the falsity of the statement by
Gleason to Roe, sufficient to withstand a motion for summary judgment based
on substantial truth.

                                      60
       Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 61 of 65



       (b)   Violation of Confidentiality and False Light against
             Yale University and Gleason - Count V

       Yale argues that Montague has not challenged its motion for

summary judgment with regard to count V and, therefore, summary

judgment should be granted.

       The court agrees.      Montague failed to address count V in

his opposition to Yale’s motion for summary judgment and in his

sur-reply.      Therefore, the court concludes that Montague

abandoned his claim.79       The defendants’ motion for summary

judgment is granted with respect to count V.80

       (c)   Tortious Interference with a Contract – against
             Gleason, Killheffer, and others unknown - Count VI

       Yale argues, with respect to Montague’s claim that Gleason

and Killheffer intentionally interfered with his contractual

relationship with Yale, that Montague failed to provide evidence

supporting his claim.81       With regard to Gleason, Yale argues that



79   See Jackson v. Federal Exp., 766 F.3d 189, 198 (2d Cir. 2014).
80 Assuming arguendo that the Montague did not abandon his claim in count V,
he did not allege a cognizable claim for invasion of privacy. Since
Montague’s allegations relate solely to statements made by Gleason to Roe,
Montague has failed to meet the requirement of publication for a false light
invasion of privacy claim. “Unlike the limited publication required to state
a claim for defamation, the publicity element of a false light invasion of
privacy claim requires publication of the allegedly false matter to the
public at large or to so many persons as to make it substantially certain
that the matter will become public knowledge.” Grigorenko v. Pauls, 297 F.
Supp. 2d 446, 448 (D. Conn. Dec. 31, 2003).
81Montague’s claim alleges that the defendants violated Yale’s strict
confidentiality requirements; falsely informed Roe that the informal
complaint process was not available; falsely informed or implied to Roe that

                                       61
      Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 62 of 65



Gleason and Roe testified that Gleason did not inform Roe of a

previous complaint against Montague, that he had been found

responsible of misconduct, or that he had to participate in

training because of that finding.         Yale further argues that both

Gleason and Roe testified that Gleason informed Roe of all of

the options, including offering Montague sensitivity training

again in an informal complaint, abandoning the informal

complaint, or proceeding with a formal complaint as either the

complainant or a witness.       Yale states that, since Gleason and

Roe “were the only witnesses to the conversations between them,

there is no contrary evidence.”

      Montague argues in opposition that Berkman’s initial draft

report and email to the UWC indicate that “Gleason explained to

Roe that Montague had already been given a recommendation for

training after a previous complaint” and that “[t]his is an

accurate statement of what [Roe] told me about her motivation. .

. .”82

      “A claim for tortious interference with contractual

relations requires the plaintiff to establish (1) the existence

of a contractual or beneficial relationship, (2) the defendants'

knowledge of that relationship, (3) the defendants' intent to


Montague was the subject of a previous complaint; and manipulated Roe into
agreeing to participate in a formal complaint against Montague.
82Montague further argues that Roe’s statement to Gleason falls within an
exception to the rule against hearsay.

                                     62
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 63 of 65



interfere with the relationship, (4) the interference was

tortious, and (5) a loss suffered by the plaintiff that was

caused by the defendants' tortious conduct.”        Appleton v. Board

of Ed., 254 Conn. 205, 212-13 (Aug. 15, 2000)(citation omitted).

     “[F]or a plaintiff successfully to prosecute such an action

it must prove that the defendant's conduct was in fact tortious.

This element may be satisfied by proof that the defendant was

guilty of fraud, misrepresentation, intimidation or molestation

. . . or that the defendant acted maliciously . . . .          [A]n

action for intentional interference with business relations . .

. requires the plaintiff to plead and prove at least some

improper motive or improper means . . . .        The plaintiff in a

tortious interference claim must demonstrate malice on the part

of the defendant, not in the sense of ill will, but intentional

interference without justification . . . .        In other words, [the

plaintiff] bears the burden of alleging and proving lack of

justification on the part of the actor.” Daley v. Aetna Life and

Cas. Co., 249 Conn. 766, 805-806 (1999)(citations and quotation

marks omitted).

     The court has denied summary judgment on count VII(A),

which is related to Montague’s allegation that Gleason breached

the UWC’s confidentiality requirement, based on disputed

evidence suggesting that this alleged disclosure may have

motivated Roe to pursue a formal complaint.        Therefore, with

                                   63
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 64 of 65



respect to Gleason, the court concludes that a genuine issue of

material fact also exists with regard to count VI.

     With regard to Killheffer, Yale argues that he did not meet

or communicate with Jane Roe until February 23, 2016, after Dean

Holloway had already accepted the recommendation of the UWC II

panel to expel Montague.     Yale further argues that, at his

depositions, Montague could not identify how Killheffer coerced

Roe into filing a formal complaint.

     Montague responds that Killheffer “admitted to

participating in the decision to pursue a formal complaint

against Montague, contrary to the established policy of the

Title IX office,” in his deposition.       Specifically, Montague

responds that Killheffer “joined in the decision, made at the

November 4, 2015 meeting of Yale’s Title IX [l]eadership, that

the Title IX [o]ffice would independently pursue a formal

complaint against Montague (including by convincing Roe to

participate in that complaint) in deliberate violation of the

contractual obligation of impartiality.”

     The parties do not dispute that Killheffer had no contact

with Roe until after the UWC II hearing.        However, Killheffer

testified that he attended the November meetings and he agreed

that “the group had made the decision to bring a formal

complaint against [Montague] if [Roe] said she would participate

in it.”   He also testified that it was his understanding that

                                   64
     Case 3:16-cv-00885-AVC Document 177 Filed 03/29/19 Page 65 of 65



Gleason would meet again with Roe “to discuss the fact that

these allegations were very serious” and see if Roe would be

willing to speak to a fact-finder.

     In viewing all inferences and ambiguities “in a light most

favorable to the nonmoving party,” Fed. R. Civ. P. 56(c), the

court concludes that Montague provided some evidence to

demonstrate a genuine issue of material fact with respect

improper motive behind the November meetings, which Killheffer

and Gleason attended.    Therefore, as to both Gleason and

Killheffer, the court denies the defendants’ motion for summary

judgment with respect to count VI.

                               CONCLUSION

     Based upon the foregoing, the defendants’ motion for

summary judgment (document no. 142) is GRANTED in part and

DENIED in part.

     It is so ordered, this 29th day of March 2019, at Hartford,

Connecticut.

                                                   /s/
                                        Alfred V. Covello
                                        United States District Judge




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